Case 1:04-cv-01140;STA Document 12 Filed 06/27/05_rPage 1 of 2 Page|D 16

 

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UNITED STATES DISTRICT COURT L/¢z;, `-
WESTERN DISTRICT OF TENNESSEE ,¢ ‘ €,> “ §
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TOM J. BAKER and /f./\( _é, oig/921 </,g__ »
TERRY BAKER } ` ` l_ _ _l `_ b 7 7 _ - low
VS- CAUSE No. OL) , |}\.\ O
MERRELL PAUL NEWMAN

and FRENCH TRUCKING, INC

 

ORDER

 

Plaintiffs, Tom J. Baker and Terry Baker, by counsel, having filed their Motion for

Continuance and the Court having heard said motion, hereby resets this matter for juiy trial from

July18,2005t0the 2d dayof A/DUEMB£R ,2005 at gsa

a.m,+.p-.qm.
So ordered this Z*!‘*i" day of OF{M , 2005.

QSI/¢Mm@a

UNITED STATES DISTRICT JUDGE
DISTRIBUTION:

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Honorable S. Anderson
US DISTRICT COURT

